                                            THE UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF OHIO

                     IN RE:                                          )   CHAPTER 13
                                                                     )   CASE NO: 19-50189
                     Robert Cummings                                 )
                                                                     )   ALAN M. KOSCHIK
                                                                     )   BANKRUPTCY JUDGE
                                                  DEBTOR(S)          )
                                                                     )   TRUSTEE’S MOTION TO DISMISS AS 341
                                                                     )   FIRST MEETING OF CREDITORS CANNOT
                                                                     )   BE CONCLUDED AND 21 DAY OBJECTION
                                                                     )   PERIOD

                          Now comes Keith L. Rucinski, the Chapter 13 Trustee, and hereby moves this Court for
                     an order of dismissal pursuant to 11 USC § 1307 (c)(1) and Rule 4002. The Debtor(s) failure
                     to timely supply necessary information has hindered the Trustee’s ability to administer the
                     case and has caused unnecessary delay by the Debtor(s) which is prejudicial to creditors as
                     the Debtor(s) is enjoying the automatic stay provided by 11 USC § 362 while hindering
                     repayment to creditors by failing to provide necessary information to conclude the 341
                     meeting. Until the 341 meeting is concluded the Trustee cannot recommend the case for
                     confirmation. Creditors cannot be paid until the case is confirmed by the Court.

                         On 04/17/2019, the above named Debtor(s) filed a petition for relief under Chapter 13 of
                     the bankruptcy code.

                         The original date for the First Meeting of Creditors was 05/23/2019, and has been
                     adjourned several times because the Debtor(s) and attorney for the Debtor(s) have failed to
                     supply the Trustee with certain required information. The Debtor(s) and attorney for the
                     Debtor(s) were instructed to provide the following information to the Trustee.

                       X      Tax Returns                     Proof of auto insurance
 CHAPTER 13
 Keith L. Rucinski         Financial Statements               Proof of homeowners insurance
      Trustee
One Cascade Plaza,
    Suite 2020             Chapter 13 Payment            X See Below for issues regarding
Akron, OH 44308                                                 Chapter 13 Plan
  (330)762-6335
        Fax                Pay stubs
  (330)762-7072
                     - NEED 2018 TAX RETURN
                     - NEED PROOF OF AUTO INSURANCE
                     - NEED BANK STATEMENTS
                     - NEED TO REDUCE TRANSPORTATION TO $500/MONTH
                     - NEED PROOF OF MEDICAL BILLS TO SUPPORT $600/MONTH AND A COPY OF
                     INSURANCE BILL SUPPORT $594/MONTH
                     - NEED AMENDED - NEED TO CHECK THE CORRECT BOX UNDER #1.1, #1.2, #1.3,
                     #2.3, #2.4, NEED TO CHECK 3RD BOX UNDER #5.1.
                     - NEED STEP UP PAYMENT STATING MONTH AND YEAR WHEN AUTO IS PAID OFF
                     - NEED A CHAPTER 13 MEANS TEST
                     - NEED AN ATTORNEY FEE DISCLOSURE
                     - NEED TO LIST ALL PRIOR BANKRUPTCIES IN THE PETITION.

                     WHEREFORE, the Chapter 13 Trustee hereby moves this Court for an order of dismissal of
                     the above Chapter 13 case for all the reasons stated herein.


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                                                              NOTICE

                     Pursuant to 11 USC § 102, unless a party in interest requests a hearing on this
                     pleading, the Court may grant the relief requested without a hearing or further notice.

                     Parties that want to be heard on this matter must file a response to this pleading within
                     21 days from the date in the below certificate of service.

                     The response must be filed with the US Bankruptcy Court at:

                                                       US Bankruptcy Court
                                                        2 South Main Street
                                               455 John F. Seiberling Federal Building
                                                      Akron, Ohio 44308-1810

                     In addition to filing a response with the Court, parties requesting a hearing must serve
                     all parties in the below certificate of service either through the mailing address
                     provided or, where applicable, by the Court’s Electronic Filing System (ECF).


                     Respectfully submitted,


                     /s/ Keith L. Rucinski
                     Keith L. Rucinski,Chapter 13 Trustee
                     Ohio Reg. No. 0063137
                     Joseph A. Ferrise, Staff Attorney
                     Ohio Reg., No 0084477
                     One Cascade Plaza, Suite 2020
                     Akron, OH 44308
                     Tel 330.762.6335
 CHAPTER 13          Fax 330.762.7072
 Keith L. Rucinski   krucinski@ch13akron.com
      Trustee
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        Fax
  (330)762-7072




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                                                    CERTIFICATE OF SERVICE

                             I hereby certify that on 06/25/2019, the following were served a copy of
                     this pleading:

                     Via Regular Mail

                     Robert Cummings
                     2325 Bailey Rd.
                     Cuyahoga Falls, OH 44221

                     Via ECF

                     REBECCA J SREMACK ESQ (rebecca@sremacklaw.com)
                     Office of the US Trustee (ustpregion09.cl.ecf@usdoj.gov)
                     Keith L. Rucinski. Chapter 13 Trustee (krucinski@ch13akron.com)
                     Harold A. Corzin, Chapter 7 Trustee


                                                                   By: T. Rowe
                     Date of Service: 06/25/2019                   Office of the Chapter 13 Trustee




 CHAPTER 13
 Keith L. Rucinski
      Trustee
One Cascade Plaza,
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Akron, OH 44308
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